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                                                                                 TILED
                                                                           U.S. DISTRICT COURT
Clyde Hutchins, BarNo. 6-3549                                              DIS IRICT GF WYOHIHG
Harmony Law, LLC
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Attorney for Plaintiff


                         IN THE UNITED STATES DISTRICT COURT


                                FOR THE DISTRICT OF WYOMING


ZACHARYLEBO,

Plaintiff,

V.                                                     Case No. Jl-dl/-j                      1^
NAVIENT SOLUTIONS, LLC,

Defendant.


                                           COMPLAINT


         COMES NOW, Plaintiff, Zachary Lebo, by and through the undersigned counsel,

and brings his cause of action against Defendant, NAVIENT SOLUTIONS, LLC, and in

support thereof alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §

227e/5e^.(TCPA).

                                         INTRODUCTION


         1.       The TCPA was enacted to prevent companies like NAVIENT

SOLUTIONS, LLC from invading American citizen's privacy and to prevent abusive,

intrusive and unwanted "robo-calls."

        2.        "Senator Hollings, the TCPA's sponsor, described these calls as 'the

scourge of modem civilization, they wake us up in the moming; they interrupt our dinner

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at night; they force the sick and elderly out of bed; they hound us until we want to rip the

telephone out of the wall." 137 Cong. Rec. 30, 821 (1991). Senator Rollings presumably

intended to give telephone subscribers another option: telling the autodialers to simply

stop calling." Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1255-56 (11th Cir.

2014).

         3.   According to the Federal Communications Commission (FCC), "Unwanted

calls and texts are the number one complaint to the FCC. There are thousands of

complaints to the FCC every month on both telemarketing and robocalls. The FCC

received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to

Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless

Phones, Federal Communications Commission, (May 27, 2015),

https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676Al.pdf.

                              JURISDICTION AND VENUE


         4.   Jurisdiction for purposes of this action is appropriate and conferred by 28

U.S.C. § 1331, as this action involves violations of the TCPA. See Mims v. Arrow Fin.

Servs., LLC, 132 S. Ct. 740 (2012).

         5.   The alleged violations described herein occurred in Albany County,

Wyoming. Accordingly, venue is appropriate with this Court under 28 U.S.C.

§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.




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       6.     Defendant conducts business in the State of Wyoming and made the

violating calls to Plaintiffs cellular telephone in Wyoming. As such, personal jurisdiction

is established.


                              FACTUAL ALLEGATIONS


       7.     Plaintiff is a natural person, residing in Albany County, Wyoming.

       8.     Plaintiff is the "called party" under 47 U.S.C. § 227.

       9.     Plaintiff is a "person" as defined by 47 U.S.C. § 153(39).

       10.    Defendant, NAVIENT SOLUTIONS, LLC, is a limited liability company

formed under Delaware law with its principal place of business located at 2001 Edmund

Halley Drive, Reston, VA 20191.

       11.    Defendant is a "person" as defined by 47 U.S.C. § 153(39).

       12.    At all times relevant to this Complaint, Defendant acted through its agents,

employees, officers, members, directors, successors, assigns, principals, and

representatives.

       13.    Defendant called Plaintiff approximately one hundred (100) times from

June 1, 2017 through August, 2017.

       14.    Upon information and belief, some or all of the calls Defendant made to

Plaintiffs cellular telephone number were made using an "automatic telephone dialing

system" which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)




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or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(1) (hereinafter "autodialer calls").

       15.    Plaintiff will testify that he knew Defendant was making autodialer calls to

his cellular telephone because of the vast number of calls he received and because every

time he answered, there was never a person on the line right away. The pause was

sometimes brief, but also sometimes as much as 5 seconds or more. If he did not say

anything, the call would terminate after a few seconds. Even when he did say something,

it would not always transfer him to a person, sometimes hanging up instead.

       16.    Defendant has a regular practice of utilizing an "automatic telephone

dialing system" when communicating with persons in the course of servicing loans.

       17.    Plaintiff is the subscriber, regular user and carrier of cellular telephone

number (626) ***-0379, has been continuously since at least 2012, and was the called

party and recipient of Defendant's calls.

       18.    Beginning on or about June 1,2017, Defendant began bombarding

Plaintiff's cellulartelephone (626) ***-0379 with calls in an attemptto collect on a debt

allegedly owed by a "Justine Sulia."

       19.    Defendant did not have Plaintiffs express consent to call Plaintiffs cellular

telephone (626) ***-0379 in an attempt to collect on a debt. All of Defendant's calls to

Plaintiff seeking to collect on a debt were made in violation of the TCPA.

       20.    The autodialer calls from Defendant came from telephone numbers

including but not limited to (856) 242-2502, (856) 242-2501, (765) 637-0791, (703) 439-


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1080, (703) 439-1079, (615) 432-4230, (570) 904-8747, (512) 354-2001, (386) 269-0326,

(317) 550-5589, and (302) 261-5532, and when those numbers are called a pre-recorded

voice answers, stating, "Thank you for calling Navient."

       21.    On or about June 20,2017, Plaintiff received a call from Defendant and

spoke with an agent of Defendant. Defendant's agent stated that the agent was looking

for a "Justine Sulia." Plaintiff told Defendant's agent that he was not the person that

Defendant was seeking to contact and that the called number was not Ms. Sulia's number.

Defendant's agent also asked for Ms. Sulia's contact information.

       22.    Plaintiff told Defendant to stop calling him during a telephone call that

Defendant initiated on or about June 22, 2017. During the phone conversation, Plaintiff

explicitly revoked any previously perceived expressed consent Defendant may have

believed it had for placementof telephone calls to Plaintiffs cellular telephoneby the use

of an automatic telephone dialing system or artificial voice or prerecorded message.

       23.    Each call Defendant made to the Plaintiffs cellular telephone after the said

June 22, 2017 call was done so without the "express permission" of the Plaintiff and in

violation of the TCPA.


       24.    Plaintiff also told Defendant to stop calling his telephone number during

telephone calls on various other occasions between June 1, 2017 and August 3, 2017.

       25.    Despite Plaintiff informing Defendant to stop calling, the Defendant's

autodialer calls to Plaintiffs cellular phone continued after June 22,2017. Plaintiff made

a non-exclusive log of approximately one hundred (100) calls he received from the


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Defendantbetween June 1, 2017 and August 3, 2017, including but not limitedto

receiving four and five calls a day at various times, sometimes within 10 minutes of each

other, on the following dates:

       June 20,2017 (x4)
       June 22,2017 (x4)
       June 23, 2017 (x4)
       June 27,2017 (x4)
       June 29,2017 (x4)
       June 30,3017 (x5)
       July 5,2017 (x4)
       July 6,2017 (x5)
       July 10,2017 (x5)
       July 11, 2017 (x4)
       July 12, 2017 (x4)
       July 13, 2017 (x4)
       July 17, 2017 (x4)
       July 18, 2017 (x4)
       July 19, 2017 (x4)
       July 20, 2017 (x4)
       July 24, 2017 (x4)
       July 25, 2017 (x4)
       July 27, 2017 (x4)
       August 2,2017 (x4)

       26.    Not one of Defendant's telephone calls placed to Plaintiff were for

"emergency purposes" as specified in 47 U.S.C. § 227(b)(1)(A).

       27.    Each of the telephone calls made to Plaintiffs number by Defendant was

knowingly and willfiilly made in violation of the TCPA.

       28.    Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as they did to Plaintiffs

cellular telephone in this case.


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        29.    Defendant's corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do not

wish to be called.


        30.    Defendant has numerous other federal lawsuits pending against it alleging

similar violations as stated in this Complaint.

        31.    Defendant has numerous complaints against it across the country asserting

that its automatic telephone dialing system continues to call despite being requested to

stop.

        32.    Defendant has had numerous complaints against it from consumers across

the country asking to not be called, however Defendant continues to call these

individuals.


        33.    Defendant's corporate policy provided no means for Plaintiff to have

Plaintiffs number removed from Defendant's call list.

        34.    Defendant willfully and/or knowingly violated the TCPA with respect to

Plaintiff.


        35.    From each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone. Plaintiff suffered the injury of invasion of privacy and the

intrusion upon his right of seclusion.

        36.    From each and every call without express consent placed by Defendant to

Plaintiffs cellular telephone. Plaintiff suffered the injury ofthe occupation of his cellular

telephone line and cellular telephone by unwelcome calls, making the phone unavailable


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for legitimate callers or outgoing calls while the phone was ringing from Defendant's

call.


        37.   From each and every call placed without express consent by Defendant to

Plaintiffs cell phone. Plaintiff suffered the injury of unnecessary expenditure of his time.

For calls he answered, the time he spent on the call was unnecessary as he repeatedly

asked for the calls to stop. Even for unanswered calls. Plaintiff had to waste time to

unlock the phone and deal with missed call notifications and call logs that reflect the

unwanted calls. This also impaired the usefulness of these features of Plaintiffs cellular

phone, which are designed to inform the user of important missed communications.

        38.   Each and every call placed without express consent by Defendant to

Plaintiffs cell phone was an injury in the form of a nuisance and annoyance to the

Plaintiff. For calls that were answered. Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls. Plaintiff had to waste time to unlock the

phone and deal with missed call notifications and call logs that reflected the unwanted

calls. This also impaired the usefulness of these features of Plaintiff s cellular telephone,

which are designed to inform the user of important missed communications.

        39.   Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiffs cellular telephone's battery power.




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       40.     Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephonewhere a voice messagewas left unnecessarily occupied

space in Plaintiffs phone or network.

       41.     Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone resulted in the injury of a trespass to Plaintiffs chattel,

namely his cellular telephone and his cellular telephone services.

       42.     As a result of the answered and unanswered calls described above. Plaintiff

suffered an invasion of privacy, the intrusion upon his right of seclusion, nuisance and

annoyance. Plaintiff was also affected in a personal and individualized way by stress,

anxiety, nervousness, embarrassment, distress, and aggravation. Due to both answered

and unanswered calls. Plaintiff suffered the expenditure of Plaintiffs time, exhaustion of

Plaintiffs cellular telephone battery, unavailability of Plaintiff s cellular telephone while

ringing, trespass upon Plaintiffs chattels, and where a voice message was left,

unnecessarily occupied space in Plaintiffs phone or network. All of the abovementioned

were caused by, and directly related to. Defendant's attempts to call Plaintiff through the

use of an automatic telephone dialing system or artificial voice or prerecorded message.

                                           COUNT I
                                   (Violation of the TCPA)

       43.     Plaintiff fully incorporates and realleges paragraphs one through forty-two

(1-42) as if fully set forth herein.




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       44.      Defendant knowingly and willfully violated the TCPA with respect to

Plaintiff, specifically for each of the autodialer calls made to Plaintiffs cellular telephone

after Plaintiff notified Defendant that Plaintiff wished for the calls to stop.

       45.      Defendant repeatedly placed non-emergency telephone calls to Plaintiffs

cellular telephone using an automatic telephone dialing system or prerecorded or artificial

voice without Plaintiffs prior express consent in violation of federal law, including 47

U.S.C § 227(b)(l )(A)(iii).

                                  PRAYER FOR RELIEF


       WHEREFORE, the Plaintiff Zachary Lebo requests that the Court grant the

following relief:

       (a) An order barring Defendant from committing further violations of the TCPA

against Plaintiff pursuant to 47 U.S.C. § 227;

       (b) Awarding Plaintiffhis actual damages as proved at the trial of this matter or

statutory damages of up to $500 for each violation, whichever is greater, pursuant to 47

U.S.C. § 227;

       (c) Awarding Plaintiff treble damages for willful or knowing violations of the

TCPA pursuant to 47 U.S.C. § 227;

       (d) An appropriate award of pre- and post-judgment interest on all damages;

       (e) An award of costs, expenses and attorney fees incurred; and

       (f) Granting such other and further relief as the Court deems just, proper and

equitable.


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                      DEMAND FOR JURY TRIAL


Plaintiff Zachary Lebo demands a jury trial in this case on all issues so triable.

Respectfully submitted this    IS          day of September, 2017.

                                           Attorney for Plaintiff




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